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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

                                               )
 BERKLEY ASSURANCE COMPANY,                    )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )
                                               )
 CBG BUILDING COMPANY LLC,                     )       Civil Action No.: 1:22-cv-01213
                                               )
        Serve:                                 )
        Corporation Service Company            )
        100 Shockoe Slip, Fl. 2                )
        Richmond, VA 23219-4100                )
                                               )
        Defendant.                             )
                                               )

                      COMPLAINT FOR DECLARATORY JUDGMENT

       In this action, plaintiff Berkley Assurance Company (“Berkley”) seeks a declaration that

defendant CBG Building Company LLC (“CBG”) is not entitled to coverage under a Contractor’s

Protective, Professional, Pollution, Cyber, Media and Mitigation Response Policy issued by

Berkley for a claim asserted against CBG by High Real Estate Group a/k/a High Properties, LP

(“HP”) with respect to the remediation of mold growth at a construction project. Berkley is not

obligated to provide coverage for this claim under the policy because, among other reasons, CBG

failed to report HP’s claim in a timely manner, in breach of the policy’s reporting requirements,

and also admitted liability for the mold and agreed to and commenced work under a remediation

program without notifying Berkley or obtaining its consent, in breach of the policy’s voluntary

payments provision.
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                                              Parties

       1.      Plaintiff Berkley is a corporation organized under the laws of Iowa with its principal

place of business at 7233 E. Butherus Drive, Scottsdale, Arizona. Berkley is approved to

underwrite and issue insurance in Virginia on a surplus lines basis.

       2.      Upon information and belief, defendant CBG is a limited liability company

organized under the laws of Virginia with its principal place of business at 4401 Wilson Boulevard,

Suite 600, Arlington, Virginia.

       3.      According to filings at the Virginia Secretary of State, CBG has five members:

Glenn A. Ferguson, Keith Anderson, Douglas G. La Rosa, Michael Holk, and Jim Forberger.

Ferguson, Anderson and La Rosa reside in Virginia, while Holk and Forberger reside in California.

       4.      CBG is a named insured on an insurance policy issued by Berkley to CBG’s parent

company, CV Services Group LLC (“CV”), which is also organized under the laws of Virginia

and maintains a principal place of business at the same address in Arlington as CBG.

                                     Jurisdiction and Venue

       5.      This is an action for declaratory judgment pursuant to 28 U.S.C. §2201(a). As

detailed below, an actual controversy exists between the parties with respect to their rights and

obligations under the policy.

       6.      This Court has personal jurisdiction over CBG because it maintains its principal

place of business in Virginia.

       7.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§1332 because the parties are diverse and the amount in controversy exceeds $75,000.




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       8.      Venue is proper in this District because the insurance policy at issue was issued for

delivery to CV in Virginia, and both CV and CBG maintain their principal place of business in

Virginia.

                                      Factual Background

                                            The Policy

       9.      On or about June 1, 2020 Berkley issued Policy No. PCAB-5011814-0620 to CV,

with effective dates of June 1, 2020 through June 1, 2021 (hereinafter, the “Policy”). By

endorsement, CBG is added as a Named Insured on the Policy.

       10.     The Policy provides several types of coverage; however, the coverage relevant to

this dispute is “Coverage C. Contractor Pollution Liability,” which is a third-party liability

coverage.

       11.     The insuring agreement for the “Pollution Liability” portion of the Policy provides

in relevant part that Berkley shall “defend you against any Pollution Claim . . . and pay on your

behalf for all Pollution Loss and Claim Expense for that Pollution Claim in excess of any

applicable Self-Insured Retention, provided that:

               1.      the Pollution Claim arises out of an actual or alleged
               Pollution Condition that results from the performance of Contractor
               Activities by you, or by a Responsible Entity for whom you are
               legally responsible; and

               2.      the Pollution Claim is for Bodily Injury or Property Damage
               that occurs during the Policy Period, or for Cleanup Costs for a
               Pollution Condition that occurs during the Policy Period, provided
               that

               a. progressive, continuous, intermittent or indivisible Bodily Injury
               or Property Damage, or Pollution Condition(s) for which Cleanup
               Costs are incurred, shall be deemed to have occurred only on the
               date of first exposure to the Pollution Condition, which is

                      i. for Bodily Injury, the date of first exposure of any person
                      to that Pollution Condition; or

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                         ii. for Property Damage or Cleanup Costs, the date the
                         Pollution Condition first commenced.

        12.      The term “Pollution Claim” is defined to include “the assertion of a legal right

alleging liability or responsibility on your part . . . for ‘Pollution Loss’ arising out of a ‘Pollution

Condition’ resulting from otherwise insured ‘Contractor Activities.’”

        13.      The term “Pollution Loss” is defined to include “any amounts you are legally

obligated to pay for . . . Property Damage or Cleanup Costs.”

        14.      The term “Pollution Condition” is defined in relevant part to include “the actual or

alleged . . . growth . . . of . . . mold.”

        15.      The term “Cleanup Costs” is defined to include “costs for the investigation,

monitoring, or disposal of soil, surface water, groundwater, indoor or outdoor atmosphere or other

contamination; clean up, abatement, containment, capping, remediation, or correction of a

Pollution Condition resulting from the performance of Contractor Activities.”

        16.      Condition X of the Policy governs Reporting and provides that:

                 A. Reporting a Claim or First Party Claim

                 As a condition precedent to coverage under this Policy, in the event
                 of a Claim or First Party Claim, you must do the following:

                 1. Report the Claim or First Party Claim to us in writing as soon as
                 reasonably possible, which (except for a Pollution Claim) must be
                 during the Policy Period, the Automatic Extended Reporting Period,
                 or during any applicable Optional Extended Reporting Period.
                 Reporting should be sent to us at the address stated in the Claims
                 Notice attached to this Policy; . . .

        17.      Section VIII of the Policy addresses “Multiple Claims” and provides, in relevant

part that:

                 Two or more Claims . . . arising out of one or more acts, errors,
                 omissions, incidents, events, or Pollution Conditions, or a series
                 thereof, that are related (either causally or logically) will be
                 considered a single Claim . . .

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                All such Claims . . . treated as a single Claim . . ., whenever made,
                shall be considered first made on the date the earliest such Claim .
                . . was first made, and only a Policy providing coverage for the
                earliest Claim shall have any coverage for such Claims . . .

        18.     Section III.E of the Policy sets forth “[CBG’s] Duties (All Coverages)” and states,

among other things:

                As a condition precedent to this insurance, in the event of any . . .
                Claim . . .

                3. You shall not voluntarily make any payment, assume or admit any
                liability, consent to any judgment, settle any . . . Claim, or incur any
                Claim Expense or Mitigation Cost, for which coverage may be
                sought under this Policy, without our prior written consent, except
                for Emergency Expense. We shall not be liable for any payment,
                assumed or admitted liability, consent judgment, settlement, or
                Claim Expense to which we have not consented.

        19.     Section V of the Policy sets forth Exclusions from coverage under the Policy and

states, in relevant part:

                We will not be liable to make payments or indemnify you for any .
                . . Claim or Loss directly or indirectly for or arising out of:

                G. liability under contract, agreement, warranty or guarantee, except
                such liability that would have existed in the absence of such contract
                or agreement. This Exclusion extends to any contractual obligation
                to make payments to others, including subcontractors,
                subconsultants, or their employees, or for materials. . . .

                                             The Project

        20.     In September 2019, CBG executed a contract with HP for the construction of the

Mallard Pointe development (the “Project) in Charlotte, North Carolina. The Project consists of

three buildings containing a total of 240 residential units, as well as retail and commercial space.

        21.     Upon information and belief, the Project was constructed in phases. Building 1 was

“closed in” in the fall of 2020 and was finished by April 2021. Building 2 was “closed in” at the

end of 2020 and was in the process of being finished as of April 2021. Building 3 was framed and


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was in the process of being closed in as of April 2021.

       22.     At some point during the Project, a dispute arose between HP and CBG concerning

the growth of mold in the residential units and surrounding areas.

       23.     No later than March 16, 2021, HP asserted a claim within the meaning of the Policy

concerning the mold in the residential units. In a letter dated that day, HP stated that one of its

“foremost concerns [was] the presence of mold.” HP noted CBG’s efforts to address the mold but

stated among other things that “[i]t is critical that inspection occurs within every unit in every wall

cavity of both Buildings 1 and 2.” HP advised that it intended to retain an independent moisture

consultant to conduct its own inspections and asserted that CBG was responsible for the cost of

these inspections.

       24.     CBG did not report this claim to Berkley at the time.

       25.     In the weeks that followed, it became apparent that the problem with mold in the

residential units at the Project was getting worse. On April 9, 2021, HP sent an email to CBG

describing the mold problem as follows:

               It is all over the floors, creeping up the door jambs, on the baseboard,
               and in some cases on the sheetrock. IT IS EVERYWHERE. Just
               about every unit on the 3rd floor. The 4th floor is slightly betterer –
               about ½ of the unit[s] have mold in the same condition. I stopped
               taking pictures because it was in so many units. Additionally, I
               developed a headache on the 3rd floor, and half way through the 4th
               floor I began to develop a cough and both Ryan and I had to step out
               on a deck to get fresh air. I certainly had a reaction to it.

HP asserted in that email “nothing that was discussed on March 17th has been done . . . to address

the mold in Bldg 1 or Bldg 2.”

       26.     CBG responded to the April 9 email. With respect to the alleged lack of

implementation of items discussed during the March 17 meeting, CBG stated “[n]ot the case, but

we owe you a complete treatment of the issue.”


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        27.    CBG did not report HP’s claim or the worsening mold problem to Berkley at the

time.

        28.    Within the next few days, CBG directed its mold consultant, Kynoch

Environmental Management (“KEM”), as well as a remediation contractor, Moldstoppers, to

investigate and remediate mold in residential units in Buildings 1 and 2. In its inspection log for

Building 2, KEM noted that mold was present in units even though they did not appear to be

suffering from water intrusion. KEM also noted that gypcrete in Building 2 had not dried correctly.

KEM also noted that mold was growing on the floor and under the cabinetwork in some of the

affected units. Over the next several weeks, CBG incurred about $32,000 in remediation costs

from Moldstoppers, reflecting about 360 person-hours of remediation work.

        29.    CBG did not report HP’s claim or any of its efforts to address the worsening mold

problem to Berkley at the time.

        30.    On May 7, 2021, while KEM’s and Moldstoppers’ remediation work was in

progress, HP issued a Stop Work Order to CBG with respect to all interior work at Building 2 at

the Project. The letter asserted that mold was continuing to be “covered up or ignored rather than

properly remediated.” The letter advised that no further work could occur inside of Building 2

“until a mold remediation documentation and certification plan has been put in place that is

mutually agreed upon by the Owner and the Contractor.”

        31.    On May 11, 2021, HP sent a second letter allowing CBG to resume certain interior

work in Building 2 at the Project. The letter confirmed that a meeting had occurred on the site the

preceding day, May 10. It went on to state that “[HREG] requires, and [CBG] has agreed to

implement, the following mold investigation, identification, and remediation measures . . .” A list

of 12 measures followed.



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        32.     Among the 12 measures required by HP and agreed to by CBG was that CBG would

retain KEM to prepare a remediation program which was to be submitted to HP for approval.

Another measure required by HP and agreed to by CBG was the removal of four inches of drywall

at the base of all walls to permit inspection of interior wall cavities.

        33.     CBG did not report the stop work order, its negotiations with HP, or its agreement

to HP’s demands with respect to the remediation work to Berkley at the time.

        34.     Over the next few weeks, KEM prepared a remediation program consistent with the

measures set forth in the May 11 letter, which was submitted to HP for review and approval, and

then implemented it in 10 units in Building 2 at the Project. The remediation program agreed to

by CBG and HP has subsequently been the subject of minor modifications. At no point throughout

this matter did CBG notify Berkley of the proposed remediation program or any proposed

modifications and seek Berkley’s consent before agreeing with HP to the proposed terms and

committing itself to perform them.

        35.     As of May 25, 2021, CBG had incurred roughly $49,000 in costs for the initial

remediation work by Moldstoppers in Building 2 at the Project and its subsequent work on the 10

units in that building. Upon information and belief, CBG had also incurred substantial costs for

services performed by KEM in connection with this work.

        36.     CBG did not report HP’s claim, its agreement to the remediation program, the

remediation work it completed, or the substantial remediation costs that it had incurred to Berkley

at the time.




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                         CBG and CV Submit A Renewal Application To Berkley

       37.     In April and May of 2021, while the events described above were unfolding, CBG’s

parent company, CV, was attempting to secure a renewal of the Policy insuring itself and CBG

with Berkley. As part of this process, CV submitted on behalf of itself and its subsidiaries,

including CBG, certain documents, including an unexecuted application for insurance, to Berkley

in April 2021. CV subsequently submitted an executed application for insurance to Berkley dated

May 25, 2021. CBG was a proposed insured under the renewal policy, and one of the application

responses expressly referred the reader to CBG’s website.

       38.     Section 9(a) of the application form asked, “has any claim, suit, notice or legal

action been made or brought (or made earlier and still pending) against your company, its

predecessors, or any past or present Principal, Partner, Officer or Director or other prospective

insured party of your company?” A follow-up question instructed, “If yes, please provide the

following details: 1. Date of Claim, 2. Allegations, 3. Insurance Company Reserve, 4. If closed,

total loss payment (indemnity payments plus defense costs), 5. Defense attorney’s or insurance

company’s evaluation of the claim.” CV and CBG did not disclose HP’s claim regarding the mold

at the Project in response to this question in either of the applications submitted to Berkley.

       39.     Section 8(g) of the application form asked if the proposed insured currently

purchased mold and fungus coverage, to which CV and CBG replied “yes.” A follow-up question

asked if the proposed insured “had any previous mold incidents/claims.” CV and CBG did not

disclose the mold issues at the Project or HP’s claim against CBG.

       40.     Section 9(b) of the application form asked “[a]re you aware of any other

circumstances or incidents which may result in a claim being filed against your company?” CV

and CBG responded to this question in the negative.



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       41.     Section 9(c) of the application asked “[d]o you know of any circumstance, project

problem or delay that could reasonably be expected to result in a claim?” CV and CBG responded

to this question in the negative.

       42.     In reliance upon the application submitted by CV and CBG, Berkley issued a

renewal policy to CV and CBG with an effective period from June 1, 2021 to June 1, 2022. The

renewal policy was emailed to CBG’s broker on June 1, 2021.

                          CBG Begins Remediation Work At The Project

       43.     On June 1, 2021, CBG mobilized personnel from KEM and from a remediation

contractor to remediate mold in Building 2 at the Project.

       44.     On June 3, 2021, CBG mobilized a second team, including additional personnel

from KEM and from a remediation contractor, to remediate mold in Building 1 at the Project.

       45.     From June 1 through June 6, 2021, CBG incurred an additional $30,000 in costs for

the remediation contractor. Upon information and belief, CBG also incurred significant costs for

services provided by KEM during this time period.

       46.     CBG did not report HP’s claim, the remediation program that CBG had agreed to,

the mobilization of teams to remediate the mold in Building 1 and Building 2, or the significant

costs that CBG was incurring on a daily basis for this work to Berkley at the time.

                               CBG Reports The Mold Issue To Berkley

       47.     On June 7, 2021, roughly a week after the account had been renewed for an

additional term, CBG, through its broker, reported HP’s claim to Berkley. CBG’s notice did not

accurately portray the events that had occurred over the past three months at the Project.

       48.     The notice stated that mold had been discovered behind kitchen cabinets in

Building 2 on May 15, 2021 and that CBG had investigated the issue further and found mold



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behind kitchen cabinets in Building 1. The notice further stated that “there are upwards of 180

rental units that may be impacted and [CBG] is concerned that the mold conditions may result in

both project delay as well as a Pollution Claim.”

       49.     The notice further advised that CBG “feels they need to investigate the mold

conditions further; they have a preferred mold contractor/consulting firm they’d like to bring in to

investigate the mold conditions, potential cause, and evaluate applicable cleanup actions.”

       50.      The notice did not disclose the true nature and extent of the mold problem at the

Project, HP’s prior claim, CBG’s prior investigation of the mold and agreement to remediation

programs demanded by HP, or CBG’s prior remediation work in accordance with HP’s demands.

       51.     As of that time, CBG’s daily expenditures for ongoing mold remediation had

increased dramatically to as much as $27,115 per day for its remediation contractor alone. CBG

did not disclose to Berkley that it was incurring these expenses.

       52.     Berkley assigned the matter to John McKinney for further handling. Mr. McKinney

promptly sent an acknowledgement of the claim and made several attempts to contact the

individual designated in the notice as a contact for CBG and to secure relevant documents from

CBG.

       53.     During a call on June 11, 2021, CBG acknowledged that HP had asserted a claim

against CBG for the mold. Mr. McKinney advised that he would need additional documents in

order to assess coverage, including documents concerning the discovery of the mold, any reports

by KEM, correspondence with the owner, and any correspondence with responsible parties.

       54.     On June 14, 2021, Mr. McKinney sent a follow-up email renewing his request for

the documents and also reserving Berkley’s rights. Mr. McKinney advised that he needed the

documents to confirm coverage under the Policy and that Berkley’s written consent and approval



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were required prior to incurring any expenses to mitigate the mold.

        55.      On June 15, 2021, CBG, through its broker, provided documents to Mr. McKinney.

These documents did not include the mold remediation program that had been prepared and agreed

to by CBG or any information about the substantial remediation costs being incurred by CBG on

a daily basis. Berkley did not have an opportunity to review or approve the remediation program

or any of the modifications thereto before CBG agreed to them and committed itself to

implementing them.

        56.      On June 16, 2021, Mr. McKinney asked for additional information about costs and

advised that Berkley might want to have its own expert look at the matter. Mr. McKinney also

asked that CBG advise him when costs were about to be incurred. CBG did not inform Mr.

McKinney that it was continuing to incur substantial costs for remediation work at the Project on

a daily basis.

        57.      It was not until June 21, 2021 that CBG provided any information about the mold

remediation program it had negotiated and agreed to with HP. By this time, CBG had committed

itself to the program and had been actively performing remediation work at the Project for several

weeks. Berkley had no opportunity to review the program or to consider or approve it before CBG

committed itself to the program. CBG also for the first time provided information about the

projected costs of the remediation program, which was $1.3 million. CBG did not provide any

specifics as to costs already incurred as of that time or the substantial costs being incurred on a

daily basis. Upon further inquiry from Mr. McKinney, CBG acknowledged that remediation work

had already commenced in all three buildings at the Project.

        58.      It was not until June 23, 2021 that CBG provided any information about the

remediation costs that it had already incurred. The information CBG provided was limited and did



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not reflect the substantial costs that it was continuing to incur on a daily basis.

       59.     On June 30, 2021, Mr. McKinney advised orally and by email that coverage for the

claim was still under investigation, but that Berkley had identified several coverage issues,

including late notice of the claim and possible breach of the voluntary payments provision of the

Policy. Mr. McKinney advised that Berkley was investigating other issues as well.

       60.     CBG’s broker sent a letter dated July 8, 2021 asserting that CBG was entitled to

coverage. This letter did not accurately portray the events preceding the report of the claim to

Berkley. In a subsequent email, the broker advised that the cost of the remediation program was

now projected to be $2.3 million.

       61.     During this time and the weeks that followed, Mr. McKinney made several requests

to CBG’s broker for all documents concerning mold at the Project and indicated that he would like

to receive these documents before he responded to the broker’s letter. CBG’s broker did not

provide any of the documents or indicate that they were forthcoming.

       62.     By letter dated August 8, 2021, Berkley formally denied coverage for the claim.

Among other things, Berkley stated that CBG’s notice of HP’s claim was untimely and that CBG

had admitted and assumed liability for the remediation of the mold in accordance with the

remediation program without Berkley’s knowledge or consent, in breach of the voluntary

payments provision.

       63.     CBG’s broker sent additional correspondence and documents to Berkley and

asserted that CBG was entitled to coverage under the Policy for HP’s claim.

       64.     After reviewing the documents, Berkley confirmed its denial of coverage for HP’s

claim under the Policy.




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        65.     CBG, through counsel, has asserted that it is entitled to coverage under the Policy

for HP’s claim. CBG’s counsel has advised that the costs associated with the mold remediation at

the Project are now roughly $6 million.

        66.     An actual controversy exists between the parties as to whether coverage is available

under the Policy for HP’s claim with respect to the mold at the Project.

                                     COUNT I
(Declaratory Judgment That CBG’s Failure To Timely Report HP’s Claim Bars Coverage)

        67.     Berkley realleges and incorporates the allegations set forth in paragraphs 1 through

66 as if fully restated herein.

        68.     There is no coverage for HP’s claim under the Policy because CBG failed to report

HP’s claim as soon as reasonably possible, as required by the Policy.

        69.     CBG delayed reporting HP’s claim in an effort to secure a renewal policy with

Berkley at a more favorable price.

        70.     CBG’s conduct constitutes a substantial and material breach of the reporting

provisions of the Policy.

        71.     Berkley has been prejudiced by CBG’s substantial and material breach of the

reporting provisions of the Policy.

        72.     CBG’s substantial and material breach of the reporting provisions bars coverage

for HP’s claim under the Policy.

        73.     Berkley is entitled to a judgment declaring that there is no coverage for HP’s claim

under the Policy.




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                                     COUNT II
 (Declaratory Judgment That The Policy’s Voluntary Payments Provision Bars Coverage)

        74.     Berkley realleges and incorporates the allegations set forth in paragraphs 1 through

73 as if fully restated herein.

        75.     CBG committed itself to a resolution of HP’s claim by acknowledging

responsibility for the mold and by negotiating, agreeing to, and commencing implementation of a

remediation program for the mold at the Project, all without notice to or the consent of Berkley.

        76.     CBG admitted liability for the mold and assumed liability for the remediation

program without notice to Berkley or Berkley’s written consent, in violation of the voluntary

payments provision in the Policy.

        77.     CBG’s conduct constitutes a substantial and material breach of the voluntary

payments provision in the Policy that bars coverage for HP’s claim.

        78.     CBG’s breach of the voluntary payments provision of the Policy has prejudiced

Berkley.

        79.     Berkley is entitled to a judgment declaring that the voluntary payments provision

bars coverage for HP’s claim under the Policy.

                                     COUNT III
 (Declaratory Judgment That The Policy’s Contractual Liability Exclusion Bars Coverage)

        80.     Berkley realleges and incorporates the allegations set forth in paragraphs 1 through

79 as if fully restated herein.

        81.     Upon information and belief, some or all of the amounts for which CBG seeks

coverage under the Policy are liabilities that exist solely by virtue of CBG’s contract with HP and

would not exist at common law.




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         82.    The Policy’s contractual liability exclusion bars coverage for some or all of HP’s

claim.

         83.    Berkley is entitled to a judgment declaring that the contractual liability exclusion

bars coverage for some or all of HP’s claim.

         WHEREFORE, Berkley respectfully requests that this Court enter judgment:

         A.      Declaring that there is no coverage available under the Policy for HP’s claim
         because the claim was not timely reported to Berkley, in breach of the notice provisions of
         the Policy;

         B.     Declaring that the voluntary payments provision precludes coverage for HP’s
         claim;

         D.     Declaring that the contractual liability exclusion precludes coverage for some or all
         of HP’s claim; and

         E.     Granting such further relief as the Court deems just and equitable.


                                               Respectfully submitted,

                                               BERKLEY ASSURANCE COMPANY


                                               /s/ John B. Mumford, Jr.
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